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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in compliance with D.N.J. LBR 9004-1(b)
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               - and –

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     Attorneys for American Express Travel Related
     Services Company, Inc. and Accertify, Inc.

     In re:                                                          Chapter 11

     BED BATH & BEYOND INC., et al.,                                 Case No. 23-13359 (VFP)

                         Debtors.1                                   (Jointly Administered)


                               NOTICE OF ASSERTION AND PRESERVATION
                                OF RIGHTS OF SETOFF AND RECOUPMENT

              Pursuant to sections IV.J.6. and IV.J.9. of the Debtors’ Amended Disclosure Statement and

 Articles X.F. and X.I. of the Debtors’ proposed Amended Joint Chapter 11 Plan, Creditors

 American Express Travel Related Services Company, Inc. and Accertify, Inc. (collectively,




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  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath
 & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 650 Liberty
 Avenue, Union, New Jersey 07083.
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 “American Express”) hereby assert and preserve any and all rights of setoff or recoupment, and

 provide written notice to the Debtors of such assertion and preservation, to the extent that such

 rights are or may hereafter become applicable and necessary to be exercised in connection with

 American Express’ claims against the Debtors in these Chapter 11 cases.

        As set forth in their filed Proofs of Claim in these cases (Claims 10140, 10389 and 10910),

 American Express has accounted for funds that were reserved prior to the Petition Date, pursuant

 to the October 2021 American Express Card Acceptance Agreement with Debtor Bed Bath &

 Beyond Inc. and its affiliates, as amended and restated in certain respects (the “Card Acceptance

 Agreement”), specifically to cover and pay any of the Debtors’ otherwise unfulfilled obligations

 to American Express under that agreement and any other agreements (the “Reserve”). As provided

 in the Card Acceptance Agreement, any funds that are part of the Reserve are solely and entirely

 the property of American Express, unless and until such funds are released after any and all

 obligations to American Express have been satisfied in full. American Express therefore holds

 rights to recover any losses under agreements with the Debtors through application of the Reserve,

 or alternately through exercise of rights of recoupment and/or setoff, that it has yet to exercise as

 of the filing of this Notice. Application of funds in the Reserve to the Debtors’ obligations to

 American Express under the Card Acceptance Agreement and other agreements will

 correspondingly reduce the amount of American Express’ claims in these cases. Accordingly, and

 to the extent applicable and necessary, American Express hereby asserts and preserves all rights

 of setoff and recoupment that it may have pursuant to the Card Acceptance Agreement or other

 applicable law.




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 Dated: August 25, 2023            Respectfully submitted,

                                   RUBIN LLC

                                   By:    /s/ Paul Rubin
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                                          -and-

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